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Plaintiffs,
v. No. 02-1111 Ml/An

HEADWATERS, INC., et. al.,

Defendants.

 

ORDER REGARDING PENDING MDTIONS

 

The Court hereby resolves the following motions pending in
the instant case:

Plaintiffs’ Motion for Writ of Habeas Corpus ad
Testificandum, filed October 15, 2004 (Docket No. 253), is DENIED
as moot.

Defendant Headwaters’s Motion in Limine to Exclude Opinion
Testimony, filed October 18, 2004 (Docket No. 256), is DENIED
without prejudice.

Defendant Headwaters's Motion in Limine to Limit Plaintiffs’
Use of Evidence of James G. Davidson's Criminal Convictions, or
in the Alternative, for Separate Trials, Bifurcating Plaintiffs’
Claims Against Headwaters from Plaintiffs' Claim of Fraud Aqainst
Mr. Davidson, filed October 18, 2004 (Docket No. 260), is DENIED

without prejudice.

Th!s document entered on the docket sheet ln compliance

with nme se and/or re(a) FRCP on q/ 7'05 ( 31 5 "

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Defendant Headwaters's Motion in Limine to Exclude Evidence
of any Claimed Interest in the ‘629 Patent Derivative of Adtech,
Inc., filed October 18, 2004 (Docket No. 262), is DENIED without
prejudice.

Plaintiffs' Motion for Extension of Time to File Pretrial
Memorandum, filed October 18, 2004 (Docket No. 265), is DENIED as
moot.

Plaintiffs’ Motion in Limine Regarding Expert Testimony of
Richard Hoffman, filed October 18, 2004 (Docket No. 267), is
DENIED without prejudice.

Plaintiffs' Motion for Extension of Time to File Trial
Brief, filed October 20, 2004 (Docket No. 277), is DENIED as
moot.

Defendant Headwaters's Motion for Leave to File Reply, filed
October 22, 2004 (Docket No. 289), is GRANTED. The Clerk is
directed to file the reply brief attached as Exhibit ‘A’ to

Defendant's motion.

So ORDERED this 17 day of August, 2005.

WYY

JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 375 in
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Honorable J on McCalla
US DISTRICT COURT

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